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 1                             UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 DOUGLAS S. GOLD, an individual,                        Case No.: 2:18-cv-01623-APG-NJK

 4          Plaintiff                                     ORDER FOR STATUS REPORT

 5 v.

 6 PAUL A. JEWISON, an individual; CAPO
   BEACH WATERCRAFT, LLC d/b/a CAPO
 7 BEACH WATERCRAFT RENTALS;
   BOMBARDIER RECREATIONAL
 8 PRODUCTS, A Canadian Corporation;
   DOES I-X; and ROE CORPORATIONS I-X,
 9 inclusive,

10          Defendants

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12         Plaintiff Douglas S. Gold previously moved to enforce the settlement the parties had

13 entered into. ECF No. 87. Some time has passed since the motion was filed. Gold is hereby

14 ordered to file a brief report explaining whether the settlement funds have now been paid and

15 whether the motion still needs to be resolved. The report is due by October 12, 2020.

16         DATED this 2nd day of October, 2020.

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                                                       ANDREW P. GORDON
18                                                     UNITED STATES DISTRICT JUDGE

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